
705 S.E.2d 355 (2010)
STATE of North Carolina
v.
Lisa Louise GREENE.
No. 544P07-2.
Supreme Court of North Carolina.
December 15, 2010.
Robert C. Montgomery, Special Deputy Attorney General, for State of NC.
Barbara S. Blackman, Assistant Appellate Defender, for Greene, Lisa Louise.
Anne M. Middleton, Assistant Attorney General, for State.
Charles Reece, Assistant Attorney General, for State.
Roxann Vaneekhoven, District Attorney, for State.

ORDER
Upon consideration of the petition filed on the 28th of September 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of December 2010."
